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  8                                     UNITED STATES DISTRICT COURT
  9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 10

 11    ANTHONY SPOSATO,                                    No. 2:20-cv-0712-EFB P
 12                        Plaintiff,
 13            v.                                          ORDER
 14    MONA HOUSTON, Warden, et al.,
 15                        Defendants.
 16

 17           Plaintiff is a state prisoner proceeding without counsel in an action brought under 42

 18   U.S.C. § 1983. He asserts claims arising out of events that occurred at the California Institute for

 19   Men, in San Bernardino County, and at Chuckawalla Valley State Prison, in Riverside County.

 20   See ECF No. 1.

 21           The federal venue statute provides that a civil action “may be brought in (1) a judicial

 22   district in which any defendant resides, if all defendants are residents of the State in which the

 23   district is located, (2) a judicial district in which a substantial part of the events or omissions

 24   giving rise to the claim occurred, or a substantial part of property that is the subject of the action

 25   is situated, or (3) if there is no district in which an action may otherwise be brought as provided in

 26   this action, any judicial district in which any defendant is subject to the court’s personal

 27   jurisdiction with respect to such action.” 28 U.S.C. § 1391(b).

 28   /////
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  1          In this case, the defendants are located in and the claims arose in the Counties of San
  2   Bernardino and Riverside. Thus, venue properly lies in the Eastern Division of the United States
  3   District Court for the Central District of California, and not in this district. See 28 U.S.C.
  4   § 1391(b); 28 U.S.C. § 84(c)(1).
  5          Accordingly, IT IS HEREBY ORDERED that this case is transferred to the Eastern
  6   Division of the United States District Court for the Central District of California. See 28 U.S.C.
  7   § 1406(a).
  8   DATED: April 20, 2020.
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